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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners,

                                v.                                   Case No: 1-25-00766

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents.



                        [PROPOSED] TEMPORARY RESTRAINING ORDER

        Upon consideration of Plaintiffs-Petitioners’ Motion for a Temporary Restraining Order, and any

opposition, reply, and further pleadings and argument thereto:

        Having determined that Plaintiffs-Petitioners (“Plaintiffs”) are likely to succeed on the merits of

their claims that the Alien Enemies Act, 50 U.S.C. § 21 et seq., does not authorize the President to

summarily remove them from the United States; that they have suffered violations of their rights under

due process, the Immigration and Nationality Act, and statutes providing protection for those seeking

humanitarian relief; that Plaintiffs will suffer irreparable injury in the absence of injunctive relief; and that

the balance of hardships and public interest favor temporary relief, it is, therefore,

        ORDERED that Plaintiffs’ Motion for a Temporary Restraining Order is hereby GRANTED; that

the proposed class is provisionally certified; and that Defendants-Respondents (“Defendants”), their

agents, representatives, and all persons or entities acting in concert with them are hereby:

        1. ORDERED, pending further order of this Court, not to remove Plaintiffs, or any members of

             the putative class, from the United States pursuant to the Alien Enemies Act and any

             Proclamation invoking the Act;




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        2. ORDERED, pending further order of this Court, that insofar as any Plaintiffs, or any

            members of the putative class, are in the process of being removed or have already been

            removed from the United States pursuant to the Alien Enemies Act, but remain within the

            custody, control, and/or jurisdiction of the United States, such individuals shall be returned to

            the United States; and

        3. ORDERED, pending further order of this Court, not to apprehend, restrain, secure, detain, or

            otherwise regulate Plaintiffs or any Members of the Putative Class, pursuant to the Alien

            Enemies Act.

It is further ORDERED that Plaintiffs shall not be required to furnish security for costs.



Entered on __________, 2025 at _______ a.m./p.m.



                                                                         ____________________________
                                                                          United States District Court Judge




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